




Rule 23 Order filed
	NO. 5-01-0704

May 3, 2002;

Motion to publish granted
	IN THE

May 29, 2002

APPELLATE COURT OF ILLINOIS



FIFTH DISTRICT

________________________________________________________________________



GEOFFREY W. FREEMAN,			) &nbsp;Appeal from the

) &nbsp;Circuit Court of

 &nbsp;&nbsp;&nbsp;&nbsp;Plaintiff-Appellant,				) &nbsp;Randolph County.

)

v.							) &nbsp;No. 01-MR-46

)

ROGER COWAN,					) &nbsp;Honorable

) &nbsp;William A. Schuwerk, Jr.,

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant-Appellee.				) &nbsp;Judge, presiding.

________________________________________________________________________



JUSTICE RARICK delivered the opinion of the court:

Geoffrey W. Freeman (plaintiff) filed a 
pro se
 petition for a writ of 
habeas corpus
 in the circuit court of Randolph County. &nbsp;The petition contended that the United State Supreme Court's decision in 
Apprendi v. New Jersey
, 530 U.S. 466, 147 L. Ed. 2d 435, 120 S. Ct. 2348 (2000), rendered his sentences void. &nbsp;The court dismissed the petition upon the defendant's motion. &nbsp;Plaintiff appeals, contending that the circuit court improperly dismissed his petition for a writ of 
habeas corpus
. &nbsp;We affirm.

Plaintiff was found guilty after a jury trial of armed robbery and first-degree murder and was sentenced to natural-life imprisonment on the murder conviction and 25 years' imprisonment for the armed robbery. &nbsp;Plaintiff exhausted all other postconviction appeals and remedies. &nbsp;On May 15, 2001, plaintiff filed his 
pro se
 petition for a writ of 
habeas corpus
, contending that his natural-life sentence was an improper extended term because the finding that his offense was accompanied by exceptionally brutal and heinous behavior indicative of wanton cruelty was not put before a jury and proved beyond a reasonable doubt. &nbsp;The trial court dismissed the petition for the failure to state a cause of action. &nbsp;Plaintiff initially argues that the court failed to enter an appealable order. &nbsp;An order of dismissal for the failure to state a cause of action, however, is a final and appealable order. &nbsp;See 
Boonstra v. City of Chicago
, 214 Ill. App. 3d 379, 385, 574 N.E.2d 689, 693 (1991). &nbsp;Plaintiff also argues that the court erred in dismissing his petition. &nbsp;We disagree. &nbsp;A writ of 
habeas corpus
 is available only to obtain the release of a prisoner who has been incarcerated under a judgment of a court that lacked jurisdiction of the subject matter or the person of the plaintiff or where there has been some occurrence subsequent to the prisoner's conviction that entitles him to his release. &nbsp;
Owens v. Lane
, 196 Ill. App. 3d 358, 360, 553 N.E.2d 784, 786 (1990); 
Newsome v. Hughes
, 131 Ill. App. 3d 872, 874, 476 N.E.2d 478, 480 (1985). &nbsp;A complaint for a writ of 
habeas corpus
 may not be used to review proceedings that do not exhibit one of these defects, even though the alleged error involves a denial of constitutional rights. &nbsp;
Barney v. Prisoner Review Board
, 184 Ill. 2d 428, 430, 704 N.E.2d 350, 351 (1998); 
Newsome
, 131 Ill. App. 3d at 874, 476 N.E.2d at 480. &nbsp;Plaintiff did not raise any issue regarding jurisdiction or allege any postconviction event entitling him to release, and his claim that his sentence is unconstitutional or otherwise imposed in error is not cognizable. &nbsp;See 
Schlemm v. Cowen
, 323 Ill. App. 3d 318, 321, 752 N.E.2d 647, 649 (2001); 
People ex rel. Bright v. Twomey
, 4 Ill. App. 3d 365, 368, 279 N.E.2d 538, 540 (1972). &nbsp;Plaintiff did not allege any error that is subject to review in 
habeas corpus
 proceedings, and therefore he failed to state a cause of action entitling him to 
habeas corpus
 relief. &nbsp;Accordingly, the trial court did not err in dismissing plaintiff's petition for a writ of 
habeas corpus
.

For the aforementioned reasons, we affirm the judgment of the circuit court of Randolph County.



Affirmed.



GOLDENHERSH and CHAPMAN, Melissa, JJ., concur.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;	NO. 5-01-0704



IN THE



APPELLATE COURT OF ILLINOIS



FIFTH DISTRICT

___________________________________________________________________________________



GEOFFREY W. FREEMAN,			) &nbsp;Appeal from the

) &nbsp;Circuit Court of

 &nbsp;&nbsp;&nbsp;&nbsp;Plaintiff-Appellant,				) &nbsp;Randolph County.

)

v.							) &nbsp;No. 01-MR-46

)

ROGER COWAN,					) &nbsp;Honorable

) &nbsp;William A. Schuwerk, Jr.,

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant-Appellee.				) &nbsp;Judge, presiding.

___________________________________________________________________________________



Rule 23 Order Filed:
		May 3, 2002

Motion to Publish Granted:
	May 29, 2002

Opinion Filed
:			May 29, 2002

___________________________________________________________________________________



Justices
:	Honorable Philip J. Rarick, J.



Honorable Richard P. Goldenhersh, J., and

Honorable Melissa A. Chapman, J.,

Concur

___________________________________________________________________________________



Attorney
	Geoffrey W. Freeman, Reg. No.: N-40858, Menard Correctional Center, P.O. Box

for
	711, Menard, IL 62259

Appellant
	

___________________________________________________________________________________



Attorneys
	James E. Ryan, Attorney General, Joel D. Bertocchi, Solicitor General, William L.

for
	Browers, Karen Kaplan, Assistant Attorneys General, State of Illinois, 100 West

Appellee
	Randolph Street, 12th Floor, Chicago, IL 60601

___________________________________________________________________________________


